UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

 

   

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ADIB K. TIMBUKTU Wisconsin Easte

 

3270 N. 21st STREET JUL 26 2021
MILWAUKEE, WISCONSIN 53206; & mie ount

    

Vs. CASE NUMBER

21-6-087

ACCESSIBLE HOME CARE;

AARIF DAHOD, C.E.O.

3111 N. UNIVERSITY DR.

CORAL SPRINGS, FLORIDA 33065;

LUUL ADAM, DIRECTOR
1672 S. 9th STREET
MILWAUKEE, WISCONSIN 53204

 

COMPLAINT

 

The plaintiff alleges that defendant Accessible Home Care, in official
capacity and under the colour of law, violated the Plaintiff's 1st, 4th and 5th
Amendment Rights to the United States Constitution by depriving the
plaintiff of his lawful medical benefits by refusing to pay his home health
care worker as a part of an on-going conspiracy to commit fraud against
the United States government's medicare/medicaid program.

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The plaintiff alleges that defendant Accessible Home Care
misappropriated funds paid to them by the government for the plaintiff's
care, for their own personal use and gain while citing the plaintiff's inability
to comply with their unreasonable and bogus demands as excuses for their
failure to pay for his care. To date Accessible continues to unlawfully seize
the plaintiff's benefits as evidenced by the fact that the plaintiff has received
no written notice from medicare/medicaid, his insurance provider (United
Health) or Accessible of termination. To date, Accessible continues to
receive government funds yet dispenses no payment for the plaintiff's care.

Throughout his tenure as a client with them, Accessible has
repeatedly refused to grant the plaintiff's requests and demands for an
accounting of payments made to them by the government and payments
made to his caregiver by Accessible in violation of both state and federal
law. In the five or so years since the plaintiff has been a client of the
defendants, he has NEVER received a financial accounting of payments
made in his case so as to cover up their unlawful seizure of his benefits.

These actions by the defendants forced the plaintiff to pay out of
pocket and many times personally perform severely difficult, stressful and
unreasonable tasks, under duress, which has demonstrably caused his
physical and mental health to deteriorate and for him to fall behind in his
rent. At the same time the plaintiff was being subjected to these wrongs,
the defendants repeatedly denied his numerous requests for supportive
care, without which the plaintiff became more isolated and helpless to
obstruct their conspiracy of fraud.

On at least three (3) separate occasions the plaintiff attempted to
switch health care agencies and on all three occasions defendant
Accessible conspired with other health industry officials or workers to
thwart this change to a different agency.

Lastly on at least three (3) separate occasions the defendants
refused to transfer government assistance payments they received for the
plaintiff's care, to the plaintiff's caregiver stating that he had been fired,
without (to date) providing the plaintiff or his caregiver with any written
notice of appeal rights procedure in violation of the most basic due process
protections.

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Even after contacting Accessible C.E.O. Dahod, the plaintiff was
given the run-around by his executive assistant (who apparently was his
wife) thereby defendant Dahod willfully failed to properly monitor and
supervise his staff nor address the grievances of his clients.

These constitutional deprivations have taken place within the past 6
months but have been ongoing for years causing the plaintiff irreparable

injury.

RELIEF WANTED

The plaintiff herein seeks:

1. Monetary relief in the amount of $1,824,000.00 in actual and punitive
damages;

2. Injunctive relief in the form of a consent decree wherein Accessible
operations are audited for similar abuses to other beneficiaries
who are their clients;

3. That defendant Accessible be put on probation and monitored by the
federal government for a period of three years;

4. And that all guilty participants in this conspiracy be prosecuted to the
fullest extent of the law.

Dated 7/19/21 Plaintiff By:

Alot. tA

Adib Timbukttu, pro se

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